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AO9l (Rev. 12/03) Criminal Complaint AUSA

 

UNITED STATES DISTRICT COURT

 

Southem District Of Texas McAllen Division

 

UNITED STATES OF AMERICA CRIMINAL COMPLAINT
vs.

Case Number_: 7:19-po-05954

Jose Hector DlAZ-Diaz
IAE
Guatemala 1994

I, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about March 31, 2019 in HidalEO County, ind
the .Southern' District Of Texas defendant($) did,

 

Being then and there an alien, did, knowingly and unlawfully enter the United States at a place other
than as designated by immigration officers; \

 

in violation of Title 8 United States Code, Section(s) 1325(211(1)

I further state that l am a(n) Border Patrol Agent and that this complaint is based on the

following facts:

Jose Hector DIAZ-Diaz was encountered by Bor'der Patrol Agents near Hidalgo, Texas on March 31,
2019. When questioned as to his citizenship, defendant stated that he was a citizen and national of
Guatemala, who had entered the United States illegally on March 31, 2019 by rafting across the Rio
Grande River near the Hidalgo,‘Texas Port of Entry.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THI_S
COMPLAINT ARE TRUE AND CORRECT.

Continued on the attached sheet and made a part of this complaint \:] Yes .>H NO

/l-v/f.

 

Signature of Complainant

Nicolas Cantu Border Patrol Agent

 

_ _ Printed Name of Complainant
Sworn to before me and signed in my presence,

 

 

April 02, 2019 - 11-`/ $,;/~ at MaAllen, Texas
Date ' y City/ tate \)
Juan F Alanis Ma'gisl‘ate Judge

 

 

Name of Judge Title of Judge %\ Signature of Judge

